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UNITED STATES DISTRICT COURT QMGQEWZU?
SOUTHERN DISTRICT OF TEXAS § J$M
coRPUS CHRISTI DIVISION o,,\d.,.w\@v-U°‘“ ‘
JOHN H. RAMIREZ, g
§
Petitioner, §
VS. § CIVIL ACTION NO. 2212-CV-410
9
LORIE DAVIS, §
Director, Texas Department of 9
Criminal Justice, Correctional g

lnstitutions Division

Respondent.

 

Dear Court Clerk,

Please send me a copy of the Docket Report in the above numb@fed“1'
case? Please file this letter on the Docket BEFORE sending me the copy
of the Docket Report? Enclosed is a self-addressed Stamped envelope
to use to send me the Docket Report. Thank You for your time in answering
this request.

 

 

      
          

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